                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTIRCT OF TENNESSEE


HANNAH ASHBROOK,

       Plaintiff,

v.                                                             No. 1:24-cv-00165

MEIGS COUNTY, TENNESSEE et al.,

       Defendants.


          MEMORANDUM OF FACTS AND LAW IN SUPPORT OF MOTION
     TO DISMISS CASEY STOKES ON THE GROUNDS OF JUDICIAL IMMUNITY 1

       Judge Stokes is entitled to judicial immunity. The actual facts, unlike the

Complaint’s allegations, are largely not disputed on the issue before the Court 2.

       This matter has not been set for trial. This matter is filed in accordance with the

Scheduling Order’s directive that the issue of judicial immunity be addressed 3.

       As Plaintiff’s Complaint alleges, Plaintiff, Hannah Ashbrook, appeared in the

General Sessions Court for Meigs County, Tennessee to support her boyfriend, Steven



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  Again, this matter is not set for trial or accompanying Scheduling Order. Judge Stokes has yet
to be deposed and is not required until the threshold issue of judicial immunity is determined. The
“judgment” referenced by Paragraph 47 of the Complaint does unequivocally read that Plaintiff
engaged in contemptable behavior in the courtroom. Yet, no doubt, Judge Stokes will and can
contribute to the precise behavior he deemed contemptable in a discovery deposition or other
form of testimony at the requisite time. For this reason, no testimony of Judge Stokes has been
submitted as the same is not necessary to the determination of judicial immunity. Again, based
upon the Plaintiff’s Complaint, Judge Stokes is judicially immune from Plaintiff’s suit.
2
  Judge Stokes, of course, denies the allegations of the Complaint and relies on the propriety of
his contempt finding against the Plaintiff as entirely lawful. Judge Stokes denies Plaintiff has
sustained a deprivation of her federal constitutional rights, any deprivation of state law, or suffered
any wrongdoing on May 11, 2023, or at any other time.
3
  Accordingly, the filing of this Motion is without prejudice to the filing of another Motion, if
necessary, demonstrating that there is no genuine issue of material fact that unlike what the
Complaint alleges, Plaintiff’s federal constitutional rights were not violated, nor did any Defendant
violate state law.



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Kelsey. Mr. Kelsey had been arrested on May 2, 2023 and charged with driving while

license revoked, possession of unlawful drug paraphernalia uses and activities, evading

arrest, and the manufacture, deliver and sale and/or possession with intent to

manufacture, deliver or sale methamphetamine. Mr. Kelsey was arrested by Officer

Samuel Whiting of the City of Decatur Police Department. Apparently, this was his first

court appearance after being bonded out of jail.

       No dispute exists that Judge Stokes was the presiding judicial officer in the General

Sessions Court for Meigs County, Tennessee, and therefore all cases pending and other

happenings in court fell totally within his jurisdiction.

       Plaintiff was indisputably with her boyfriend, Mr. Steven Kelsey. Mr. Kelsey was

indisputably lawfully present to answer charges which had been filed in the General

Sessions Court for Meigs County, Tennessee. As a criminal defendant under pre-trial

release, Kelsey was drug tested and failed. He was taken into custody.

       Although the same will no doubt be disputed by Ms. Ashbrook, Judge Stokes

contends that Ms. Ashbrook and Mr. Kelsey were engaged in inappropriate conduct for

which they could lawfully be cited for contempt after being repeatedly warned to cease

and desist. Candidly, the conduct in and of itself was enough to cite Plaintiff with criminal

contempt. Yet, Judge Stokes requested if Plaintiff would submit to a drug test. The request

was made to the Plaintiff by Officer Ben Christian4 of the Meigs County Sheriff’s


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  Officer Samuel Whiting of the City of Decatur Police Department was subpoenaed by Plaintiff.
(Whiting deposition at p. 5,6). It was not unusual for Whiting to transport prisoners to the Meigs
County Jail and was doing so May 11, 2023. (Id. at p. 7, 16). Plaintiff’s boyfriend, Steven Kelsey,
was arrested after testing positive for illegal drugs (Id. at p. 10-11, 17-18, 37) Plaintiff was upset
and engaged in inappropriate behavior in the courtroom hallway. (Id. at 15, 19, 20, 30). Plaintiff
also cursed (Id. at 31), obstructed Whiting, and did not tell him the truth. (Id. at 9, 31, 32-33, 35).
Suffice it to say, Ms. Ashbrook was not acting normally despite the business that was going on
between lawyers, litigants, law enforcement, and others necessary to the business of the General
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Department. Plaintiff agreed and submitted to a drug test by Court Officer Carol Petitt 5.

As indicated in the Complaint, Plaintiff failed the drug test and was taken into custody and

served ten (10) days in the Detention Facility for Meigs County, Tennessee for criminal

contempt. She was released and has not been subject to any further prosecution.

        Plaintiff challenges the decision by Judge Stokes for placing her in criminal

contempt. That is it. Judge Stokes’ decision was grounded not only in Plaintiff’s conduct

in the courtroom that Judge Stokes witnessed, but also the same was confirmed by the

failed drug test which explained Plaintiff’s disruptive behavior. Plaintiff actually cited to the

Judgment for Criminal Contempt in her Complaint. Accordingly, it is that decision that

Plaintiff is now attacking in a private civil rights action pursuant to 42 U.S.C. § 1983 and

two supplemental state law claims for false arrest and false imprisonment respectfully.

        Respectfully, Judge Stokes is entitled to judicial immunity. Plaintiff’s challenge is

precisely the reason why Judge Stokes, and all other judges, enjoys judicial immunity. It

is axiomatic that the doctrine prohibits judicial officers from facing such lawsuits as the

one brought by Plaintiff. If it were otherwise, official judicial’s decisions would all have to

be filtered through the credibility or lack of credibility of a subsequent civil rights action by

a disgruntled individual or made foreseeing such a possibility. The cloak of immunity

ensures that judicial officers are not “chilled” in any way in making decisions affecting an

impartial judicial process. The general citizenry desires that judicial officers resolve issues



Sessions Court for Meigs County, Tennessee. (Id. at p. 38-42) Whiting did comment that Plaintiff
engaged in vulgarity on May 11, 2023, objected to taking the test but did not question the results.
(Id. at 43-45, 49).
5
  Ms. Petitt is the County’s Probation Officer. (Petitt deposition at p. 7), and part of her duties can
be administering drug tests. (Id. at p. 12). On May 11, 2023, she tested Plaintiff and Plaintiff failed,
and the test revealed the presence of several illegal substances. Like Whiting, she also observed
Plaintiff’s behavior in the Meigs County Courthouse. (Id. at 23-25). Plaintiff was tested under the
authority of Judge Stokes and his office. (Id. at 32-33).
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without having to worry that they are going to be sued by an individual or individuals who

may be adversely affected by the decision. This principle is deeply grounded in our juris

prudence and the same has been recognized on multiple occasions by the United States

Supreme Court.

       Again, the purpose of this Motion is to determine whether Judge Stokes is entitled

to judicial immunity in this action, and not the determination concerning the facts of

Plaintiff’s action. Plaintiff was citied and imprisoned for criminal contempt. Plaintiff has

attacked Judge Stokes in this action as the result of the decision to find her in criminal

contempt. Accordingly, that is the decision act, at least according to the Complaint, to be

evaluated for the applicability of judicial immunity. As stated, the same is clearly a judicial

act and accordingly Judge Stokes is entitled to judicial immunity.



                                  LAW AND ARGUMENT

       It is well-settled that judges are generally absolutely immune from civil suits for

money damages. Barnes v. Winchell, 105 F.3d 1111, 1115 (6 th Cir. 1997) (citing Mireles v.

Waco, 502 U.S. 9, 9, 112 S.Ct. 286, 287, 116 L.Ed.2d 9 (1991); Forrester v. White, 484

U.S. 219, 108 S.Ct. 538, 98 L.Ed.2d 555 (1988); Stump v. Sparkman, 435 U.S. 349, 98

S.Ct. 1099, 55 L.Ed.2d 331 (1978); Pierson v. Ray, 386 U.S. 547, 87 S.Ct. 1213, 18

L.Ed.2d 288 (1967); Bradley v. Fisher, 80 U.S. (13 Wall.) 335, 20 L.Ed. 646 (1872)). This

includes immunity from lawsuits brought pursuant to 42 U.S.C. § 1983. Id. (citing Pierson,

386 U.S. at 554, 87 S.Ct. at 1217-18). The judicial immunity doctrine is justified “by a long

-settled understanding that the independent and impartial exercise of judgement vital to

the judiciary might be impaired by exposure to potential damages liability.” Id. (quoting


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Antoine, 508 U.S. at 435, 113 S.Ct. at 2171). Therefore, the “unfairness and injustice to

a litigant [that] may result on occasion, [because] ‘it is a general principle of the highest

importance to the proper administration of justice that a judicial officer, in exercising the

authority vested in him, shall be free to act upon his own convictions, without

apprehension of personal consequences to himself’” cannot outweigh compelling public

benefits. Id. Quoting Mireles, 502 U.S. at 10, 112 S.Ct. at 287 (quoting Braley, 80 U.S.

(13 Wall.) at 347)). If this were not the case and judges were personally liable for

erroneous decisions, then “the resulting avalanche of suits, most of them frivolous but

vexatious, would provide powerful incentives for judges to avoid rendering decisions to

provoke such suits.” Id. (quoting Forrester, 484 U.S. at 226-27, 108 S. Ct. at 544).

       The doctrine of judicial immunity protects a sweeping range of judicial actions. Id.

(citing, e.g. Mireles, 502 U.S. at 12, 13, 112 S.Ct. at 288, 288-29 (concluding that judge

was immune from liability for allegedly authorizing police officers to use excessive force

to hale an attorney into his courtroom); Ashelman v. Pope, 793 F.2d 1072 (9th Cir.1986)

(extending absolute judicial immunity to a judge who allegedly conspired with a

prosecutor to predetermine the outcome of a proceeding); King v. Myers, 973 F.2d 354

(4th Cir.1992) (holding that magistrate judge was absolutely immune from civil liability for

directing a police officer to effect warrantless arrest); Green v. Maraio, 722 F.2d 1013 (2d

Cir.1983) (recognizing immunity where a judge instructed a court reporter to alter a trial

transcript)). The United States Supreme Court has provided that “[a] judge will not be

deprived of immunity because the action he took was in error, was done maliciously, or

was in excess of his authority,” nor “if his exercise of authority is flawed by the commission




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of grave procedural errors.” Id. (quoting Stump, 435 U.S. at 356, 359, 98 S.Ct. at 1105,

1106).

         Absolute judicial immunity is overcome in just two situations:

         First, a judge is not immune from liability for nonjudicial actions, i.e., actions
         not taken in the judge’s judicial capacity. Second, a judge is not immune for
         actions, though judicial in nature, taken in absence of all jurisdiction.

Id. At 1115-16 (quoting Mireles, 502 U.S. at 11-12, 112 S.Ct. at 288 (internal citations

omitted); see also Mann v. Conlin, 22 F.3d 100, 103 (6th Cir.) (same), cert. denied, 513

U.S. 870, 115 S.Ct. 193, 130 L.Ed.2d 126 (1994)).

         Tennessee state law prohibits contempt of court. In fact, the same is codified in the

statutes of the State of Tennessee, and the Tennessee Rules of Criminal Procedure.

Specifically, T.C.A. § 29-9-102 prohibits “any person in the presence of the court, or so

near thereto as to obstruct the administration of justice” from engaging in “willful

misbehavior”. See T.C.A. § 29-9-102(1). That statute also prohibits the engaging of other

types of behavior including a “catch-all” prohibiting any other act or omission considered

to be contempt. See T.C.A. § 29-9-102(6). No dispute exists that criminal contempt is

punishable according to T.C.A. § 29-9-103 by either a fine or imprisonment not exceeding

ten (10) days. Indeed, T.C.A. § 29-9-107 prohibits anyone from swearing or cursing in the

presence of any court of record. Again, in addition to the statutes of the State of

Tennessee, the Tenn. R. Crim. P. 42 also prohibits criminal contempt, and subsection (a)

of the Rule even allows it to be enforce summarily 6.




6
 The same is primarily pointed out to illustrate that contempt exists, it is punishable, and it was
correctly applied by Judge Stokes. Again, the same does not precisely go to the issue of judicial
immunity, but rather is pointed out that Judge Stokes was clearly authorized to do what he did.
                                                 6

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        As such, no reason exists to strip Judge Stokes of judicial immunity. Plaintiff may

be upset with the citation for criminal contempt, probably cause may not have existed, it

may have been a bad decision, it may have been a decision made in bad faith, or

otherwise flawed either procedurally or substantively. Yet, the same does not matter.

Under well-established precedent, no action exists against Judge Stokes for the same.

He is respectfully entitled to immunity. The decision to place Plaintiff in criminal contempt,

however characterized by Plaintiff, was a judicial act, and Judge Stokes clearly had

jurisdiction to do what is alleged that he did for any offending conduct either in or outside

of his courtroom7.

        Respectfully submitted this 31st day of December 2024.


                                                ARTHUR F. KNIGHT, III


                                                s/Arthur F. Knight, III___________
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  It is expected that Plaintiff will offer a distinction between conduct in and outside of the courtroom.
Again, Plaintiff was in contempt for conduct she engaged in both inside and directly outside the
courtroom. Even if she engaged in no conduct in the courtroom which is denied, the hallway
directly outside of the metal detector leading into the General Sessions Court for Meigs County,
Tennessee is one regularly used (as it was on May 11, 2023) by attorneys, law enforcement,
litigants, and other persons to conduct court business.
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                              CERTIFICATE OF SERVICE

      The undersigned hereby certifies that this document or pleading was served via
the Court’s ECF filing system on all users authorized and directed to receive such service.
Dated December 31, 2024.


                                                 s/Arthur F. Knight, III
                                                 Arthur F. Knight, III




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